  Case 21-00152        Doc 10        Filed 03/09/22 Entered 03/09/22 09:36:55        Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  In re:                                                      Chapter 7

  WESTLAKE PROPERTY HOLDINGS, LLC,                            Case No. 19-22878
  et al.,                                                     (Jointly Administered)

                        Debtors.                              Hon. Deborah L. Thorne


  IRA BODENSTEIN, the chapter 7 trustee for
  the bankruptcy estate of Pipeline – Westlake
  Hospital, LLC,

                        Plaintiff,
  v.                                                          Adv. No. 21-152

  MEDTRONIC USA, INC., D/B/A
  MEDTRONIC SD USA, INC.,

                        Defendant.


                                      NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1) (made applicable to this adversary proceeding by

Fed. R. Bankr. P. 7041), Ira Bodenstein, the Plaintiff and trustee appointed in the above-

captioned chapter 7 case, hereby dismisses the above-captioned adversary proceeding with

prejudice:

                                                             Ira Bodenstein, not individually,
                                                             but as Chapter 7 Trustee

Dated: March 8, 2022                                         By: /s/ Joshua D. Greene /s/
                                                             One of his attorneys
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